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                                    30652



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Attorneys for Plaintiff
Johnson & Johnson Health Care Systems Inc.

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 JOHNSON & JOHNSON                      :
 HEALTH CARE SYSTEMS INC.,                  Civil Action No. 22-2632(JKS)(CLW)
                                        :
                  Plaintiff,                Hon. Jamel K. Semper, U.S.D.J.
                                        :   Hon. Cathy L. Waldor, U.S.M.J.
 vs.
                                            Hon. Freda L. Wolfson, Special Master
 SAVE ON SP, LLC,                       :
                                            NOTICE OF MOTION TO SEAL
                  Defendant.            :

                                        :

COUNSEL:

       PLEASE TAKE NOTICE that on October 7, 2024 at 9:00 A.M. in the

forenoon, or as soon thereafter as counsel may be heard, the undersigned attorneys

for plaintiff Johnson & Johnson Health Care Systems Inc. (“JJHCS”) will apply
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before the Honorable Freda L. Wolfson, Special Master at the United States

District Court for the District of New Jersey, Martin Luther King Building & U.S.

Courthouse, 50 Walnut Street, Newark, New Jersey 07101, for an Order, to

(a) permanently maintain under seal the letters and supporting exhibits filed by

counsel for the parties regarding Defendant Save On SP, LLC’s Motion to Compel

Discovery from “Janssen Market Research,” dated May 21, 2024, with related

briefing on May 31 and June 7, 2024 (ECF Nos. 330, 331 & 357 filed July 3, 2024

and August 27, 2024); and (b) permit JJHCS to file the proposed public versions of

ECF Nos. 330, 331 & 357, attached as Exhibit A to the Declaration of Jeffrey J.

Greenbaum submitted in support of this motion (“Greenbaum Declaration”).

      PLEASE TAKE FURTHER NOTICE that in support of this motion, JJHCS

will rely on the accompanying Greenbaum Declaration and indices in support of

Motion to Seal. A proposed form of Order is also attached.

      PLEASE TAKE FURTHER NOTICE that pursuant to Local Civil Rule

7.1(d)(4), no brief is necessary inasmuch as the application presents issues that are

a matter of familiarity to the Court.




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                                  Respectfully submitted,

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                                  By:   s/ Jeffrey J. Greenbaum
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                                  Attorneys for Plaintiff Johnson & Johnson
                                  Health Care Systems Inc.

Dated: August 27, 2024




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